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                          THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    UNITED STATES OF AMERICA

                  v.                                        3:CR-18-0097
                                                            (JUDGE MARIANI)
    ROSS ROGGIO,

           Defendant


                                 MEMORANDUM OPINION
                                    I. BACKGROUND

       Defendant Ross Roggio's Motion to Suppress Evidence Seized in Violation of the

United States Constitution (Doc. 46) and Motion to Suppress Roggio's Statement and

Related Evidence (Doc. 64) are pending before the Court. In the March 20, 2018, thirty-

seven count Indictment, Defendant Roggio is charged with conspiracy to commit an offense

against the United States, in violation of Title 18, United States Code, Section 371;

violations of the Arms Export Control Act, Title 22, United States Code, Sections 2778(b)

and (c); and the International Emergency Powers Act, Title 50, United States Code,

Sections 1702 and 1705(c); smuggling goods from the United States, in violation of Title 18

United States Code Sections 554 and 2; wire fraud, in violation of Title 18, United States

Code Section 1342; and money laundering, in violation of Title 18 United States Code,

Sections 1956(a)(2)(A) and 2. (Doc. 1.)

       Following full briefing of the motions (Docs. 47, 56, 61, 65, 72, 96, 97), a
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Suppression Hearing was held on May 27, 2021 (see Hr'g Tr. (Doc. 103)). As agreed at

the Suppression Hearing (Doc. 103 at 170-174), the parties filed supplemental briefs after

the filing of the Official Transcript of the Hearing. Defendant filed his brief (Doc. 108) on

September 3, 2021 , and the Government filed its brief (Doc. 109) on October 13, 2021.

Therefore, th is matter is ripe for disposition .

                                              II. BACKGROUND

        At the Suppression Hearing, Jeff Burke, a Special Agent with Homeland Security out

of the Philadelphia, Pennsylvania, office, testified at length about the investigation which led

to the March 20, 2018, Indictment. (Hr'g Tr. 75-162 (Doc. 103).) In addition to Homeland

Security Investigations ("HSI"), the agencies involved include the Federal Bureau of

Investigation ("FBI") and the Department of Commerce Office of Export Enforcement

Bureau of Industry Security. (Id. 76:7-12.) Burke provided a narrative as to how the

investigation began and developed:1

        In March of 2016, a representative employee from the Drill Masters Eldorado
        Tool Company contacted the FBI , in regards to suspicions that controlled items
        were being exported to Iraq, specifically, machinery bits, tools, to manufacture
        firearms .

             From that, FBI conducted several interviews to confirm this, obtained
        documents and brought in the Department of Commerce to further investigate.

               As they reviewed documents obtained by Eldorado Tool Company, they
        confirmed that there were certain tools that appear to have been shipped

        1 Burke joined      the investigative team sometime after November 2016. (Hr'g Tr. 91:3-6.) He
testified that the first thing he did upon joining the team was to review all investigative documents. (Id.
91:6-9.) At the outset, the FBI was the lead on the investigation. (Id. 111 :21 -25.)
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       through a private shipping company in East Stroudsburg, The Packaging
       Place, I believe, the name of it is, Special Agent from Commerce ran licensing
       checks to see if a license had been obtained or approvals had been obtained
       from the Department of Commerce to ship those items because they had found
       that they were, indeed, controlled items that were not allowed to be exported
       from the U.S. to Iraq without specific licensing and authorizations.

                When it was determined that no licensing had been found, search
       warrants were obtained for various email addresses for Mr. Raggio. If I'm
       recalling the fact pattern correctly, Mr. Raggio was having his former wife ship
       these items to him in Iraq, and, I guess, when the Eldorado Tool Company
       employee had received a phone call from The Packaging Place asking for an
       official description of the items, and that's what kind of tipped off the employee
       that these controlled items were being exported.

              Further investigation confirmed that, yes, they were exported via mail
       by The Packaging Place, and additional documents were obtained from the
       package place, from the shipper, as well, and, you know, all that went towards
       the probable cause of the search warrants that were obtained by the
       Commerce Special Agent in the investigation. I believe there were two email
       search warrants that they applied for and received.

(Hr'g Tr. 82:1-83:10 (Doc. 103).)

       When Raggio was telephonically interviewed on April 29, 2016, by a Special Agent

of the FBI as a follow up to the March 16, 2016, Drill Masters Eldorado Tool Co. ("Drill

Masters" "Eldorado Tool") call, he acknowledged that he had ordered the parts that had

been the subject of the Drill Masters call but he did not remember where they were, saying

they were either at his house or his parents' house. (Id. 86:16-87:2.) Burke testified that

further contact with Eldorado Tool confirmed

       the orders and also confirmed that specific tools, essentially, drill bits -- let me
       get the specific name -- I believe they're called, like, buttons, but, essentially,
       they're used to drill out a barrel and impart the rifling within the barrel for various
       calibers. And she confirmed that the parts, indeed, are controlled and not

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       supposed to be exported without a license.

(Hr'g Tr. 87:8-14.)

       On cross-examination, Burke verified that, regarding the March 30, 2016, call from

Eldorado Tool, the search warrant application mentions "gun parts being reshipped to Iraq."

(Hr'g Tr. 110:24-111 :3.) Burke clarified that he did not believe that Eldorado Tool was

talking about "actual gun parts" like "barrels, firing pins, that kind of thing" but rather the

caller was referring to "gun manufacturing parts" like the "buttons" to which he had

previously referred. (Id. 111 :5-16.) Burke further clarified that Eldorado Tool had shipped

the products, including the 15 rifle combo buttons, from their facility in Connecticut to

Pennsylvania. (Id. 112:22-113:23.)

       Investigative agents also went to the shipping company in East Stroudsburg,

Pennsylvania, that was used to ship the Eldorado Tool products, The Packaging Place, and

spoke with the owner, Frank Montaforte. (Id. 87:15-88:2.) Burke testified that Monteforte

"provided paperwork and confirmed that items fitting the description of these tools that are

restricted, that he did recall having exported those to Iraq to Mr. Raggio, indicated that his

wife had come in, brought them in, and, I believe, they documented them as just various

tools. " (Id. 88:2-7.) In reviewing Government's Exhibit 7, Burke identified it as The

Packaging Place invoice

       indicating that Kristy Raggio had signed to have these items shipped to Ross
       Raggio to an address in the Saharan Residential Complex Building 42, Office
       10, Sulaymaniyah, Kurdistan Region of Iraq, further identifying a phone number
       of 570-977-8102 to the attention of Ross Raggio from Kristy L. Raggio at, I

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       believe, 143 Indian Spring Drive, Stroudsburg, Pennsylvania. Declared a value
       of $800. And then it's a multi-page document which breaks down, specifically,
       what the items were.

(Id. 88:12-20.)

       On cross-examination, Burke acknowledged that Monteforte had contacted Eldorado

Tool and spoken with Debbie Cornwall about a description of the items to be shipped . (Hr'g

Tr. 115:8-10.) When Defendant's counsel asked if Monteforte "was told that they were gun

reamers - they were reamers for drills," Burke responded that he did not know the specific

conversation Monteforte had with Cornwall. (Id. 115:11-14.) Upon review of the March 21,

2017, Application for a Search Warrant" (Gov't Ex. 5 ~ 24), Burke agreed that the items

described in the March 30, 2016, shipment (Waybill# 5622077020) were reamers and drill

bits. (Id. 115:21-116:4.) Burke further agreed that Cornwall had previously specifically

described rifling combo buttons by name regarding Roggio's order for fifteen rifling combo

buttons . (Id. 116:9-15.)

       When asked to confirm that "[n]o one has ever determined from observation what

was in the Package," Burke responded that "through interviews with Mr. Monteforte and

descriptions of how the buttons would look in packaging obtained from Eldorado Tool , he

identified them as believing that those items were part of the shipment that had been sent to

Iraq." (Id. 117:25-118:6.) Thereafter, Burke confirmed that the package had never been

inspected by law enforcement and no photos were ever taken of it. (Id. 118:7-13.)

       Burke explained that after The Packaging Place interview, the next step in the


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investigation was to take the information obtained and request licensing determinations

about the products shipped. (Id. 89:18-21.) The request revealed that the rifling combo

buttons were controlled items which required a license to be exported from the United

States and no license was found for the export of these items. (Id. 90:9-25.)

       Based on information obtained from the investigation, in November 2016 search

warrants were sought for two email accounts associated with Raggio. (Id. 91 :1-2.) Search

of the email accounts found a document titled "Weapons and Ammunition Feasibility Report

No. 1)," which Burke testified "appears to be [a report] in which it is outlining the steps, costs

and analysis to develop a weapons manufacturing facility .. in Iraq." (Id. 91 :14-17, 92:10-

13.) Burke also pointed to a March 28, 2016, invoice from OML Global in Fayetteville, North

Carolina, listing Ross Raggio as the customer and indicating an order for "15,000 gas rings ,

3200 cotter pins, firing pin retainers , and the gas rings are further described as M4 bolt gas

rings MIL." (Id. 93:3-8.) Burke explained that

       [t]his is a document that showed Mr. Raggio was obtaining large quantities of
       materials that would be needed to develop an M4 style, AR15 style assault rifle.
       These items, specifically, would be integral to the development of the .. . firing
       pin bolt action within the rifle [which] would be incorporated into the production
       of firearms .

(Hr'g Tr. 94:2-10.) Burke further testified that these items are controlled under the United

States Munitions List and would require licensing and approval for export from the United

States. (Id. 94:11-23.) He added that, during this time frame, Raggio was not producing

rifles in the United States but he had owned a manufacturing facility in Fayetteville years


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before and he attempted to start a partnership in the East Stroudsburg area but that did not

move forward to manufacture firearms "[s]o as of our investigation, Mr. Raggio was not

manufacturing firearms professionally in the United States." (Id. 95:1-8.)

       Burke testified that investigative agents had a case coordination meeting and border

search authority was discussed in early January 2017. (Hr'g Tr. 78:1-5) When he learned

that Raggio was planning to fly back from Iraq, Burke said he first consulted with his

supervisor about his intent to request a border search and detention of electronic devices

when Raggio crossed the border, returning to the United States through JFK International

Airport. (Hr'g Tr. 78:10-14.) By way of background, Burke explained that

               [w]ith this investigation, as with any investigation that I open, I enter in
       subject records to an automated case system. The subject records include --
       in this case would have been Mr. Raggio, his company, and other various
       subjects and names of individuals that were part of or coming up in the
       investigation.

               Within those subject records, I have the option to designate them for a
       referral to Customs, a referral to Immigration or as a Silent Hit, so that if they
       are traveling, I get to see that and nobody else does. It kind of allows me to
       understand, you know, what the pattern of travel is, if they are coming in, and
       in Mr. Roggio's case, he was coming in from Iraq. It would provide us the
       opportunity to conduct a border search of Mr. Raggio.

              And in this case, in particular, I believe, it was January 25, I received
       both notices from my automated lookout that he was traveling back to the U.S.
       from Iraq, and I was also notified by the FBI of the travel, as well.

(Hr'g Tr. 77:3-20.)

       Burke confirmed that export violations were part of the ongoing investigation into

Raggio and export violations would be something that Homeland Security Investigations

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("HSI") as well as Customs Border Patrol would have the authority to investigate. (Id. 79:25-

80:5.)

         As to events at the border, HSI agents confirmed that Raggio and Christina

Sidiropoulou , his travel companion , were returning to the United States on February 26,

2017, aboard a Turkish Airlines flight. (Hr'g Tr. 95:13-17.) Case agents coordinated with

HSI New York JFK Office and U.S. Customs and Boarder Protection ("CBP") to arrange for

Raggio and Sidiropoulou to undergo a secondary examination and border search upon

arrival. (Id. 96:12 -97:10.)

         U.S. Customs and Border Protection Officer Aurelia Morales testified that she

conducts secondary inspections as part of her duties. (Hr'g Tr. 5:4-11.) She described a

secondary inspection: "when a person that was processed through primary inspection

needs additional assessing, in terms of Immigration Laws, Customs Laws or any threats,

any criminality involved with that person ." (Id. 5:14-17.)

         Upon arrival on Turkish Airlines , Raggio and Sidiropoulou were referred for

secondary inspection at JFK customs which was conducted by Morales. (Id. 11 :1-3.) FBI

Special Agent Douglas Vetrano, HSI Special Agent James Mundy, and other CBP officers

were present during the secondary interview. (Id. 19:19-25.) Morales testified that she had

never spoken with Burke before she interviewed Raggio and she could not recall if she

spoke with the agents who were present about Raggio. (Id. 27 :4-7, 28:24-25:3.)

         Morales said she asked Raggio basic questions she would have asked any


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international traveler and she recalled that he was pleasant and very forward with his

answers. (Id. 14:2-11.) Raggio indicated that he was traveling from Iraq where he had

worked in construction and was a part owner of a business building infrastructure, his

business partners paid him approximately $9 million to complete a project, there had been a

dispute regarding the amount of money he received which resulted in his being kidnapped

by his business partners, and the kidnappers took his passport so he was traveling on a

temporary passport. (Id. 15:4-17:22.) At the close of her interview, based on the initial

interview, the secondary interview, and the inspection of his bags, there was no reason to

deny Raggio admissibility and nothing to be confiscated. (Id. 43:11-15.) Morales estimated

that the secondary interview took 15 to 20 minutes. (Id. 19:9-13.) She could not recall

whether Raggio had asked to have an attorney present, but she confirmed that she believed

she would have put it in her notes if he had asked. (Id. 21 :1-5.)

        Special Agent Mundy testified as to his recollection of the events of February 26,

2017.

        As far as I can recall , you know, the subject was brought into a secondary
        exam and, essentially, I linked up with the agents from the Bureau, and CBP
        performed their normal routine secondary examination , and the request from
        the Agent Burke was to detain the electronic devices, in accordance with a
        border search, which I did, and I FedEx'd them to Agent Burke.

(Hr'g Tr. 64 :12-17.)

        On February 26, 2017, Mundy detained Roggio's electronic devices. (Id. 68:1-5.)

According to the Affidavit in Support of a Search and Seizure Warrant attached to the March


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21 , 2017, Application for a Search Warrant,

          [fjollowing the interviews, ROGGIO and SIDIROPOULOU were advised that
          their electromic devices were being detained for a border search . HSI SA
          James Mundy detained the follow devices from ROGGIO: 1 MacBook Pro
          Labtop Computer w/ storage bag ... ; 1 Apple IPad Tablet .. . ; 2 Apple IPhone
          6's . .. ; and 1 Scandisk Flash Drive . . . . HSI SA James Mundy then detained
          the following devices from SIDIROPOULOU: 1 Apple IPhone S . . . ;1 Apple
          IPhone 1 ... ;and 1 Apple IPod . . . . ROGGIO provided his passwords for all
          password-protected devices, and the border search process was explained to
          both ROGGIO and SIDIROPOULOU. SA Mundy provided them with HSI SA
          Burke's contact information and explained that the items would be sent to
          Pennsylvania for examination and returned to ROGGIO and SIDIROPOULOU
          upon the completion of the forensic review of the devices.

(Gov't Ex. 5 ,r 53.)

          On February 28, 2017, Burke received the items from Mundy, confirmed the

contents, and secured them pending submission to the HSI Philadelphia Forensics Lab. (Id.

,r 54.)   On March 1, 2017, Burke submitted all items to Computer Forensics Agent ("CFA")

Doug Green for a forensics examination of the detained items. (Id.      ,r 55.)   The Government

obtained a search warrant for the electronic devices on March 21 , 2017 , from United

Magistrate Judge Karoline Mehalchick. (Id., last page.)

                                           Ill. ANALYSIS

          In his post-hearing brief, Roggio asserts that the search and seizure of his electronic

devices was unreasonable for two reasons : 1) there was no reasonable suspicion to seize

and search the devices; and 2) the search exceeded the scope of any reasonable border

search. (Doc. 108 at 8, 14.) Defendant's pending motions require the Court to consider

the requirements of the Fourth Amendment where the government conduct at issue occurs

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in the context of a search and/or seizure at a United States border.

       The Fourth Amendment provides:

       The right of the people to be secure in their persons, houses, papers, and
       effects, against unreasonable searches and seizures, shall not be violated, and
       no Warrants shall issue, but upon probable cause, supported by Oath or
       affirmation, and particularly describing the place to be searched , and the
       persons or things to be seized.

U.S. Const. amend IV.

       In Riley v. California, 573 U.S. 373 (2014), the Supreme Court noted that the text of

the Fourth Amendment "makes clear [] 'the ultimate touchstone of the Fourth Amendment is

reasonableness ."' Id. at 381 (quoting Brigham City v. Stuart, 547 U.S. 398, 403 (2006)).

Riley added that

       [o]ur cases have determined that "[w]here a search is undertaken by law
       enforcement officials to discover evidence of criminal wrongdoing, ...
       reasonableness generally requires the obtaining of a judicial
       warrant. " Vernonia School Dist. 47J v. Acton, 515 U.S. 646, 653, 115 S.Ct.
       2386, 132 L.Ed.2d 564 (1995) ... . In the absence of a warrant, a search is
       reasonable only if it falls within a specific exception to the warrant requirement.
       See Kentucky v. King, 563 U.S. [563 U.S. 452], 131 S.Ct. 1849, 1856-1857,
       179 L.Ed.2d 865 (2011 ).

Riley, 573 U.S. at 382.

       The border search is an exception to the warrant requirement which is well-

established. See Boyd v. United States, 116 U.S. 616, 623 (1886). "Time and again, we

have stated that 'searches made at the border, pursuant to the longstanding right of the

sovereign to protect itself by stopping and examining persons and property crossing into this

country, are reasonable simply by virtue of the fact that they occur at the border."' United

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States v. Flores-Montano, 541 U.S. 149, 152-53 (2004) (quoting United States v.

Ramsey, 431 U.S. 606, 616 (1977)) .

       In the case of a forensic search of electronic devices, as happened here after Mundy

sent the detained devices to Burke and Burke forwarded them to Green for a forensic

examination, see supra p. 10, reasonable suspicion to conduct the advanced search is

required for the search to pass muster under the Fourth Amendment. Alasaad v. Mayorkas,

988 F.3d 8, 12-1 3 (1 st Cir. 2021 ), cert. denied sub nom. Merchant v. Mayorkas, 141 S. Ct.

2858 (June 28, 2021); United States v. Cano, 988 F.3d 1002, 1014 (9 th Cir. 2019) , cert.

denied, 141 S. Ct. 2877 (June 28, 2021); United States v. Kolsuz, 890 F.3d 133, 138 (4th

Cir. 2018). Where a basic border search of electronic devices is a "routine" search which

may be conducted without reasonable suspicion, a forensic search is a nonroutine search

wh ich is permissible under the Fourth Amendment upon a showing of reasonable suspicion .

Id. Although Cano limited the scope of a forensic search based on reasonable suspicion to

searches for contraband, 988 F.3d at 1017, Alasaad and Kolsuz did not, see 988 F.3d at

20-21 , 890 F.3d at 143-44. As stated in Alasaad, "the border search exception is not limited

to searches for contraband itself rather than evidence of contraband or a border-related

crime." 988 F.3d at 20. Kolsuz reasoned that "[t]he justification behind the border search

exception is broad enough to accommodate not only the direct interception of contraband as

it crosses the border, but also the prevention and disruption of ongoing efforts to export




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contraband illegally, through searches initiated at the border." 890 F.3d at 143-44 (citations

omitted).

       By way of background, Kolsuz stated that,

       [a]s a general rule, the scope of a warrant exception should be defined by its
       justifications. See Riley, 134 S. Ct. at 2484-88 (asking whether "application of
       the search incident to arrest doctrine to this particular category of effects would
       untether the rule from the justifications underlying the [search incident to arrest]
       exception"). As a result, where the government interests underlying a Fourth
       Amendment exception are not implicated by a certain type of search , and
       where the individual's privacy interests outweigh any ancillary governmental
       interests, the government must obtain a warrant based on probable
       cause. See id. At some point, in other words, even a search initiated at the
       border could become so attenuated from the rationale for the border search
       exception that it no longer would fall under that exception. See [United States
       v. Molina-Isidoro, 884 F.3d 287, 295-97 (5 th Cir. 2018)] (Costa, J., concurring)
       (questioning whether search for evidence as opposed to contraband is
       consistent      with    justifications    for    border      search     exception) .

Ko/suz, 890 F.3d at 143.

       Thus , courts look to the link between between the forensic search and the interest

that justifies the border exception to ascertain whether the border exception is triggered in

the circumstances of the case. Id. at 143. Ko/suz found that attempting to export firearms

illegally and without a license is "a transactional offense that goes to the heart of the border

search exception which rests in part on 'the sovereign interest of protecting and monitoring

exports from the country."' Id. (quoting United States v. Oriakhi, 57 F.3d 1290, 1297 (4 th Cir.

1995); citing United States v. Bourne/hem, 339 F.3d 414,423 (6th Cir. 2003)).

       The Fourth Circuit further explained the requisite nexus in United States v.

Aigbekaen, 943 F.3d 713 (4 th Cir. 2019) , cert. denied, 141 S. Ct. 2871 (June 28, 2021):

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       our decision in Kolsuz teaches that the Government may not "invoke[ ] the
       border exception on behalf of its generalized interest in law enforcement and
       combatting crime." 890 F.3d at 143. This restriction makes particularly good
       sense as applied to intrusive, nonroutine forensic searches of modern digital
       devices, which store vast quantities of uniquely sensitive and intimate personal
       information, id. at 145 (citing Riley, 573 U.S. at 393-97, 134 S.Ct. 2473), yet
       cannot contain many forms of contraband, like drugs or firearms, the detection
       of which constitutes "the strongest historic rationale for the border-search
       exception," United States v. Molina-Isidoro, 884 F.3d 287, 295 (5th Cir. 2018)
       (Costa, J., concurring).

                Accordingly, as we explained in Kolsuz, 890 F.3d at 143, to conduct
       such an intrusive and nonroutine search under the border search exception
       (that is, without a warrant), the Government must have individualized suspicion
       of an offense that bears some nexus to the border search exception's purposes
       of protecting national security, collecting duties, blocking the entry of unwanted
       persons , or disrupting efforts to export or import contraband . See also United
       States v. Ramsey, 431 U.S. 606,620, 97 S.Ct. 1972, 52 L.Ed.2d 617 (1977)

943 F.3d at 721 .

       Aigbekaen found an insufficient nexus to justify the nonroutine border search in the

circumstances of the case: the Government's justified suspicion that the defendant had

previously committed

       grave domestic crimes ... were entirely unmoored from the Government's
       sovereign interests in protecting national security, collecting or regulating
       duties, blocking Aigbekaen 's own entry, or excluding contraband . Thus, holding
       the border search exception applicable here, based simply on the
       Government's knowledge of domestic crimes, would "untether" that exception
       from its well-established justifications.

943 F.3d at 721 (quoting Riley, 573 U.S. at 386).




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       The First Circuit's reasoning in Alasaad is consistent with that of the Fourth Circuit.

In noting its disagreement with the Ninth Circuit's limitation of the border exception to

searches for contraband, the First Circuit noted:

       We cannot agree with its narrow view of the border search exception
       because Cano fails to appreciate the full range of justifications for the border
       search exception beyond the prevention of contraband itself entering the
       country. Advanced border searches of electronic devices may be used to
       search for contraband, evidence of contraband, or for evidence of activity in
       violation of the laws enforced or administered by CBP or ICE.

988 F.3d at 21.

       Although the Third Circuit has not addressed this issue, the Court concludes that the

reasoning of the First and Fourth Circuits is appropriately applied in this case because the

search of Roggio's devices and the interest that justifies border searches are sufficiently

linked to support a forensic search of his electronic devices based on reasonable suspicion.

       The Supreme Court has defined reasonable suspicion as a "particularized and

objective basis for suspecting the particular person stopped of criminal activity." United

States v. Cortez, 449 U.S. 4111, 417-18 (1981). In the border search context, this means

that "officials must possess a particularized and objective basis for suspecting the person

stopped of criminal activity to engage in a forensic examination" of electronic devices.

Cano, 934 F.3d at 1015. In determining whether reasonable suspicion existed at the

relevant time, the reviewing court considers "the totality of the circumstances." United

States v. Whitted, 541 F.3d 480, 489 (3d Cir. 2008) (citing United States v. Arvizu, 534 U.S.

266, 274 (2002)).

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       Whereas in Kolsuz border agents had found firearm parts upon inspection of

luggage, 890 F.3d at 136, the Circuit Court did not establish such a finding as a prerequisite

to finding a nexus sufficient to justify a search based on reasonable suspicion, id. at 143-44.

Further, the clear nexus between national security and suspected export of firearm parts to

Iraq without a license (contraband) justify a search based on reasonable suspicion in the

framework set out above. Kolsuz, 143-44; see also Defense Distributed v. U.S. Dep't of

State, 838 F.3d 451, 458-59 (5th Cir. 2016) (recognizing "the State Department's stated

interest in preventing foreign nationals-including all manner of enemies of this country-

from obtaining technical data on how to produce weapons and weapon parts is not merely

tangentially related to national defense and national security; it lies squarely within that

interest" and "the public's keen interest in restricting the export of defense articles"); accord

Bourne/hem, 339 F.3d at 423 ("The government's control and regulation of the export

of weapons implicates significant government interests in the realms of national security and

relations with other nations.")

       With this finding, the question remains whether reasonable suspicion existed to

conduct a forensic search of Roggio's devices. Despite Defendant's argument to the

contrary (see, e.g., Doc. 108 at 8-13), the Court concludes that reasonable suspicion

existed.

       Burke testified that




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         [based] on my review of all case materials and the [November 14, 2016,] search
         warrant findings and the emails within , I believed it was very reasonable to
         suspect that Mr. Roggio was engaged in some type of illegal export activities ,
         as well as brokerage and service activities in Iraq, without the permission of the
         Department of State.

(Hr'g Tr. 138:5-10.) As set out above, before Mundy detained Roggio's devices at Burke's

request, investigating agents were aware that Roggio had purchased controlled items and

had, based on interviews with Monteforte and his description of items shipped to Roggio in

Iraq , reasonably believed that prohibited items were exported to Iraq in violation of law. See

supra pp. 2-6. Roggio's email contained a document titled "Weapons and Ammun ition

Feasibility Report" that contained a detailed description of the requirements (both physical

and legal) to build a weapons and ammunition plant in Iraq. See supra pp. 6-7, Govt. Ex. 5

~   34. Other emails generated or received by Roggio detailed the purchase of controlled

firearms parts which were ordered and paid for while Roggio was outside the United States.

Gov't Ex. 5 ~~ 35-40. This purchase occurred at a time when Roggio was not engaged in a

weapons production undertaking in the United States. See supra pp 6-7. The electronic

devices were detained when Roggio had arrived at the United States from Erbil, Iraq, via

Istanbul, Turkey, Gov't Ex. 5 ~ 43, with Iraq being the suspected destination of the

prohibited firearms parts .

        Considering the totality of the circumstances in this case, the Court concludes that

the decision to detain Roggio's electronic devices was based on a particularized and

objective basis to suspect that Roggio was involved in illegal activity related to the export of


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prohibited firearms parts. Therefore, the forensic examination of Roggio's electronic

devices did not violate his Fourth Amendment rights. 2

                                            IV. CONCLUSION

        For the reasons discussed, the Motion to Suppress Evidence Seized in Violation of

the United States Constitution (Doc. 46) and Motion to Suppress Roggio's Statement and

Related Evidence (Doc. 64) will be denied. A separate Order is filed with this Memorandum

Opinion.




        2 With  this determination, the Court notes that Roggio asserted in his Motion to Suppress Roggio's
Statement and Related Evidence (Doc. 64) and supporting brief (Doc. 65) that he should have been
advised his rights pursuant to Miranda v. Arizona, 384 U.S. 436 (1966), and his "statement should be
suppressed as violative of Miranda and the Fifth Amendment" (Doc. 65 at 18-19). However, Roggio does
not raise this basis for suppression in his post-hearing brief. (See Doc. 108.) As the Government correctly
asserts, the circumstances of this case do not give rise to the applicability of Miranda and Roggio's claim
that his statement and related evidence must be suppressed due to the lack of Miranda warnings is without
merit. (See Doc. 72 at 12-19.)
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